UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK

 

JUSTIN COHEN and KYALA SCHENCK,
Plaintiffs, COMPLAINT
-against- Index No. 21-cv-4821

THE CITY OF NEW YORK; MAYOR BILL DE BLASIO; PLAINTIFFS DEMAND
NEW YORK CITY POLICE DEPARTMENT (“NYPD”) A TRIAL BY JURY
COMMISSIONER DERMOT SHEA; NYPD CHIEF OF

DEPARTMENT TERENCE MONAHAN; NYPD OFFICER

THOMAS DEMERY; NYPD OFFICER MIGUEL

MARQUEZ; NYPD OFFICER ADNAN HUSSAIN; and

NYPD MEMBERS JOHN AND JANE DOES 1-14.

Defendants.
xX

 

Plaintiffs, JUSTIN COHEN and KYALA SCHENK, by their attorneys Cohen&Green
PLLC, and Gideon Orion Oliver, hereby complain of Defendants, upon information and belief,
as follows:

PARTIES, VENUE AND JURISDICTION

1. At all times mentioned herein, Plaintiffs, JUSTIN COHEN (Mr. Cohen, he/him)
and KYALA SCHENCK (Ms. Schenck, she/her), were residents of Kings County, in the City and
State of New York.

2. At all relevant times mentioned herein, Defendant City of New York (“New York
City”) was and is a municipal corporation duly organized and existing under and by virtue of the
laws of the State of New York and acts by and through its agencies, employees and agents,
including, but not limited to, the New York City Police Department (“NYPD”), and their
employees.

3. Defendant New York City Mayor BILL DE BLASIO was at all times relevant to

this Complaint, and still is, the Mayor of New York City. As Mayor, Defendant de Blasio, at all
relevant times, was and is an elected officer and the “chief executive officer of the city,” NYC
Charter Section 3, and had final authority to appoint and/or remove the New York City Police
Commissioner. He is sued individually and in his official capacity.

4. Defendant NYPD Commissioner DERMOT SHEA was at all times relevant to
this Complaint, and still is, the Police Commissioner of the NYPD. As Police Commissioner,
Defendant Shea, personally and/or through his authorized delegates, at all relevant times had
final authority to promulgate and implement administrative and managerial policies and
procedures, including policies and procedures as to personnel hiring, training, supervision, and
discipline with respect to NYPD officers’ performance of their duties, and constituted a City
policymaker for whom the City is liable. He is sued individually and in his official capacity.

5. Defendant NYPD Chief of Department TERENCE MONAHAN was at all times
relevant to this Complaint the Chief of Department of the NYPD who has policymaking
authority over the Department. At all relevant times, as Chief of Department, Defendant
Monahan, had primary responsibility for NYPD operations—that is, for the police response on
the street. Within the paramilitary structure of the NYPD, all NYPD uniformed members of the
service were obligated to obey any lawful order given by him. He is sued individually and in his
official capacity.

6. NYPD Officer Thomas Demery (Shield No. 19181, Critical Response Command,
Tax I.D. 952665), NYPD Officer Miguel Marquez (Tax I.D. 959790), and NYPD members John
Does 1-5 are collectively referred to as the “Cohen Defendants.” Doe 1 appeared to be a white

male in a blue NYPD uniform. Doe 2 appeared to be a Black male in a blue NYPD uniform.

7. NYPD Officer Adnan Hussain (Shield No. 00333, Tax Id. No. 961531, Command

70), and John Does 11-14 are collectively referred to as the “Schenck Defendants.”
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8. The Cohen and Schenk Defendants are NYPD members who unlawfully used
excessive force, arrested, and/or detained Plaintiffs and others similarly situated in violation of
their constitutional rights.

9. At all times hereinafter mentioned, the Cohen and Schenk Defendants were
employed by the City of New York as members of the NYPD. Some of their true names, as
noted throughout this Complaint, are currently unknown to the Plaintiffs.

10. At all times hereinafter mentioned, Defendants, either personally or through their
employees, were acting under color of state law and/or in compliance with the official rules,
regulations, laws, statutes, customs, usages and/or practices of the State or City of New York.

11. | Each and all of the acts and omissions of the Defendants alleged herein occurred
while said Defendants were acting within the scope of their employment by the Defendant City.

12. Defendants were duly appointed and acting officers, servants, employees, and
agents of Defendant City who were acting for, and on behalf of, and with the power and
authority vested in them by Defendant City, and were otherwise performing and engaging in
conduct incidental to the performance of their lawful functions in the course of their duties.

13. Defendants were each and all responsible, in whole and/or in part, for the
planning for and/or creation, promulgation, implementation, and/or enforcement of the
unconstitutional policies, practices and/or customs complained of herein, and/or condoned,
acquiesced in, adopted, and/or approved of the same, through their acts and/or failures to act, as
set forth more fully below.

14. At all times relevant herein, as set forth more fully below, Defendants’ actions
and/or failures to act were malicious, intentional, knowing, and/or with a deliberate indifference

to or a reckless regard for the natural and probable consequences of their acts and/or omissions.
15. | Although they were aware of the conduct, present for it, and knew or should have
known it was unconstitutional, at no time did any of the Defendants, or any other member of the
NYPD, take any steps to intervene in, prevent, or otherwise limit the unconstitutional conduct
engaged in by their fellow officers.

16. Each individual Defendant is sued in her or his individual and official capacities.

17. This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331, 1343 and
1367, and 42 U.S.C. § 1983.

18. | Venue is proper pursuant to 28 U.S.C. § 1391, et seg., in the Eastern District of
New York, where the Plaintiffs and Defendant City of New York reside, and where the majority
of the actions complained of herein occurred.

19. _—_ Plaintiffs timely served Notices of Claim on the municipal Defendant and
complied with all conditions precedent to commencing an action under New York law.

20. At least thirty days have elapsed since service of Plaintiffs’ Notices of Claim and
adjustment and payment thereof has been neglected or refused.

21. This action has been initiated within one year and ninety days of the accrual of
Plaintiffs’ claims pursuant to New York State law.

STATEMENT OF FACTS
THE SUMMER 2020 PROTESTS IN SUPPORT OF BLACK LIVES

22. On May 25, 2020, police killed George Floyd. Almost immediately, protests
against police violence and in support of police accountability and the Black Lives Matter
movement spread across the United States and the world, including here in New York City

where thousands exercised their constitutional rights to protest.
23. In the days and weeks following Floyd’s killing, the New York City Police
Department (“NYPD”) engaged in activities that violated the constitutional rights of individuals
who were protesting police misconduct, including, inter alia, corralling protestors into spaces
where they could not escape, beating protestors with batons and fists, throwing protestors to the
ground, using pepper spray indiscriminately, and ultimately arresting many of the protestors
without lawful justification and without fair warning. Protestors were physically restrained with
flex-cuffs in such a manner that caused them unnecessary pain and suffering and, in some cases,
possible serious and long-term nerve damage. They were also subjected to lengthy and
unnecessary arrest processing that put them in dangerously close quarters, all at the height of the
global COVID-19 pandemic.

24. The unlawful policies and practices used by Defendants against protestors
included a crowd-control tactic known as “kettling” to corral and detain individuals who were
engaged in peaceful protest. Defendants used kettling and similar tactics in order to impede
constitutionally protected First Amendment activities, to conduct mass arrests without probable
cause, and to deter those arrested and beaten, and others, from exercising their First Amendment
rights in the future.

25. In addition, NYPD officers also targeted and arrested legal observers, medics, and
other workers performing essential services without probable cause.

26. By contrast, these same Defendants have responded to other protests (including,
in particular, “Blue Lives Matter” and other pro-police protests) without using the same tactics
employed against those who protested police conduct during the racial justice protests of 2020.

27. The police actions in this case were part of overlapping policies and practices of

the City of New York and the NYPD which were well known to Defendants New York City
Mayor Bill de Blasio, New York City Police Commissioner Dermot Shea, and other City
policymakers. These overlapping policies and practices include, inter alia, the use of excessive
force, false arrests, and excessive and unreasonable detention at certain demonstrations—
particularly those that focus on misconduct by the NYPD—but not others. These overlapping
policies and practices have existed for years and have often resulted in litigation.

THE COVID-19 PANDEMIC IN NEW YORK CITY

28. As protesters were taking to the streets in the summer of 2020 to speak out against
police brutality and in support of Black lives, the COVID-19 virus raged across the country.

29. In April 2020, Governor Cuomo ordered people to wear protective face masks in
public, to protect themselves and others from the spread of the virus.

30. | However, many police officers failed to abide by this directive to wear masks. As
the AG Report documented, many officers who interacted with and arrested protesters in May
and June of 2020 were not wearing face masks, even as the City continued to record hundreds of
new coronavirus cases each week. By contrast, most protesters wore protective face masks—at
least until their contacts with NYPD members.

31. As described below, during their arrests, some Plaintiffs’ masks fell off or were
removed. These protesters were transported in vans and/or buses and placed in holding cells in
close indoor contact with other arrestees whose masks fell off or were removed, and police
officers who were not wearing masks.

OTHER DOCUMENTS AND FACTS PLAINTIFFS INCORPORATE BY REFERENCE

32. Plaintiffs incorporate by reference the facts contained in the reports that have been

issued concerning Defendants’ responses to the summer 2020 protests, including, inter alia, the
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report issued by the New York City Corporation Counsel and the report issued by the New York
City Department of Investigation. !

33. Plaintiffs incorporate by reference the factual allegations in other federal civil
rights complaints in cases pending in the United States District Court for the Southern District of
New York arising from Defendants’ responses to the summer 2020 protests:

a. Sow etal v. City of New York et al, 20-cv-00533(CM)(GWG);

b. People of the State of New York v. City Of New York et al, 21-cv-322 (CM)(GWG);
c. Payne et al vy. De Blasio et al, 20-cv-8924 (CM)(GWG);

d. Sierra et al v. City of New York et al, 20-cv-10291 (CM)(GWG);

e. Wood v. De Blasio et al, 20-cv-10541 (CM)(GWG);

f. Yates v. City of New York, et al., 21-cv-01904 (CM)(GWG);

g. Campbell v. City of New York, 21-cv-04056 (AJN); and

h. Gray, et al., v. City of New York, et al., 21-cv-06610 (Unassigned).

34. Plaintiffs incorporate by reference the factual allegations in other federal civil rights
complaints in cases pending in the United States District Court for the Eastern District of New
York arising from Defendants’ responses to the summer 2020 protests:

a. Ezagui v. City of New York et al., 20-cv-06360 (DG)(SJB);
b. Fraser v. City of New York et al., 20-cv-05741 (NGG)(MMH);
c. Gelbard et al. v. City of New York et al, 20-cv-03163(MKB)(RER);

d. Jefferey et al. v. City of New York et al., 20-cv-02843 (NGG)(RML);

 

1 Margaret Garnett, Commissioner, New York City Department of Investigation, Investigation into NYPD Response
to the George Floyd Protests, (“DOI Report”), Dec. 2020, available at

https://www1 nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18
.2020.pdf; New York City Law Department, Corporation Counsel Report Pursuant to Executive Order 58 (June 20,
2020) Directing an Analysis of Factors Impacting the George Floyd Protests in New York City (Dec. 2020) (‘OCC
Report”), https://www 1 nyc.gov/assets/law/downloads/pdf/ProtestReport-np.pdf.

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e. Richardson and Myrie v. City of New York et al., 21-cv-03609 (LDH)(SJB);
f. Smith v. City of New York et al., 21-cv-03096 (DG)(TAM); and
g. Zayer v. City of New York et al., 20-cv-06070 (ARR)(PK).

PLAINTIFFS’ EXPERIENCES

35. Each Plaintiff was present at a May 30, 2020 protest in Brooklyn in support of
Black lives when NYPD members, inter alia, unlawfully assaulted, seized, battered, and arrested
Plaintiffs, employing unreasonable and excessive force, in violation of, and retaliation for the
exercise of, Plaintiffs’ rights to free speech and assembly, and other rights.

RELEVANT FACTS — JUSTIN COHEN

36. OnMay 30, 2020, around 10:30 p.m., Justin Cohen was lawfully present at a protest
at or around the intersection of Church Avenue and 31* Street, in Brooklyn.

37. At this time, Mr. Cohen had his phone out and was filming the police.

38. Without any warning, Demery, Marquez, and Doe 1 ran towards Mr. Cohen and
tackled him from behind, causing Plaintiff to land face first on the concrete.

39. Inso doing, Demery, Marquez, and Doe 1 caused scrapes and abrasions on the front
of Mr. Cohen’s right hand, cuts on the back of Mr. Cohen’s left calf, and scrapes on Mr. Cohen’s
right shoulder, among other injuries.

40. Demery, Marquez, and/or Defendant Doe 1 thereafter applied extremely tight
handcuffs to Mr. Cohen’s wrists.

Al. Demery, Marquez, Doe 1, and Doe 2 refused to remove or loosen the cuffs despite
several complaints about the excessive tightness from Mr. Cohen.

42. Eventually, Demery removed Mr. Cohen’s handcuffs and applied a different pair

of extremely tight handcuffs to him instead.
43. Defendants Does 3-5 took Mr. Cohen’s bicycle and did not return it.
44. Upon information and belief, NYPD members brought Mr. Cohen to 1 Police Plaza.
45. At approximately 7:00 a.m. on May 31,2020, Marquez issued Plaintiff a Summons

and released Mr. Cohen from custody.

46. |The Summons charging Mr. Cohen is sworn out by Marquez, and bears Summons
Number 4447822109.
47. Upon information and belief, on or before September 29, 2020, the criminal

proceeding against Mr. Cohen that resulted from the legal process issued to him was dismissed on
grounds consistent with his innocence.

PLAINTIFF KYALA SCHENCK

48. On May 30, 2020 at or about between 11:00 p.m., Plaintiff, Kyala Schenck, was
lawfully present at a protest at or near the intersection of Church Avenue and Bedford Avenue in
Brooklyn.

49. At this time, without warning or justification, members of the NYPD began running
at Ms. Schenck and other protesters.

50. In response, Ms. Schenck attempted to leave the area and return home.

51. The Schenck Defendants nonetheless assaulted and arrested Ms. Schenck.

52. | Defendant Does 11-13 pushed Ms. Schenck and forcefully grabbed her.

53. | Defendant Doe 11 shouted “put your hands behind your back” and shoved Ms.
Schenck to the ground.

54. Defendant Doe 12 forced Ms. Schenck’s head to the sidewalk and pinned her down,
smacking her knee against cement.

55. | Defendant Doe 13 put his knee into the back of Ms. Schenck’s neck and back.
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56. Defendant Does 11-13 pushed Ms. Schenck against a storefront metal door gate
and slammed her head to the ground and a metal gate.

57. At least one of Does 11-13 struck Ms. Schenck with an NYPD baton or asp.

58. At least one of Does 11-13 placed Ms. Schenck in metal handcuffs.

59. At least one of Does 11-13 replaced Ms. Schenck’s metal handcuffs with extremely
tight plastic handcuffs, along with an additional NYPD Doe Officer (who may be another of Does
11-13 ora NYPD Member John Doe 14).

60. | Upon information and belief, Ms. Schenck was brought to 1 Police Plaza.

61. At approximately 6:00 a.m. on May 31, 2020, Defendant Hussain- who is not any
of Does 11-14- issued Plaintiff a Desk Appearance Ticket bearing Arrest Number K20619506 and
released Plaintiff from custody.

62. Upon information and belief, on or before September 18, 2020, the Office of the
District Attorney of Kings County declined to prosecute Ms. Schenck’s case.

NYPD’S PERMISSIVE RESPONSE TO PRO-POLICE AND OTHER, SIMILAR
DEMONSTRATIONS

63. |The NYPD’s violent response to this protest against police brutality was
dramatically different from their response to other kinds of protests and rallies.

64. On July 11, 2020, pro-police demonstrators held a “Rally to Back the Blue” in
Dyker Heights, Brooklyn. Pro-police marchers yelled at and antagonized counter-protestors,
making racist and sexist statements, grabbing them, and spitting in counter protestors’ faces. The

NYPD made no arrests at the rally.”

 

2 Sydney Pereira, Videos Show Pro-Police demonstrators in Brooklyn Unleashing Racist, Sexist Vitriol Against
Counter-Protestors, Gothamist, July 12, 2020, available at https://gothamist.com/news/police-rally-back-the-blue-

brooklyn-dyker-heights.
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65. On July 13, 2020, pro-police “Blue Lives Matter” groups held a march in Bay
Ridge, Brooklyn. The march was attended by counter protestors organized against police
brutality. Though members of the pro-police group shouted racist and homophobic slurs at the
counter protesters and assaulted them in view of NYPD officers, only two people were arrested —
both Black men protesting police brutality. By contrast, a Blue Lives Matter demonstrator who
punched a woman in the face in view of NYPD officers was not arrested.*

66. In October 2020, hundreds of members of the ultra-Orthodox Jewish community
in Brooklyn gathered in Borough Park to protest coronavirus restrictions imposed by Governor
Cuomo. The protestors set fires in the street and threw masks into the flames. They chased away
NYC Sheriff’s Deputies and attacked a photojournalist reporting on the protest. An ultra-
Orthodox Jewish man who opposed the protestors was attacked by protestors and beaten with
rocks. Police said that no arrests or summons were issued to the protestors on the night of the
rally.‘

67. On October 25, 2020, a group called Jews For Trump convoyed hundreds of cars
draped with American flags and Trump 2020 banners. The caravan traveled from Coney Island
to the Trump Tower in Manhattan before heading to a rally in a Brooklyn park. Despite engaging
in acts of disorder during this caravan, this rolling group of pro-Trump agitators was allowed to

continue unhindered by the NYPD.°

 

3 Jake Offenhartz and Gwynne Hogan, “They Defend Their Own Side”: NYPD Accused of Protecting Blue Lives
Matter Marchers in Bay Ridge, Gothamist, July 13, 2020, available at https://gothamist.com/news/nypd-accused-
protecting-violent-blue-lives-matter-marchers-bay-ridge.
4 Jake Offenhartz, Orthodox Borough Park Residents Burn Masks, Beat Dissenters Over COVID Lockdown,
Gothamist, Oct. 7, 2020, available at https://zothamist.com/news/orthodox-borough-park-residents-burn-masks-
beat-dissenters-over-covid-lockdown.
5 AP, Jews For Trump car parade stirs protests, fights across NYC, Oct. 26, 2020, available at
https://abc7ny.com/jews-for-trump-times-square-protest-today-in-riot/7343862/.

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68. | On November 1, 2020, a coalition of Trump supporters in a vehicle caravan were
escorted through New York City despite blocking numerous bridges and committing acts of
violence. One bystander attempted to photograph an obscured license plate of a vehicle in the
caravan, but the driver of the vehicle drove into her and police threw her to the ground.®

69. On December 2, 2020, hundreds gathered in Staten Island to demand the
reopening of a bar that was closed for violating the heath regulations related to COVID-19.
Protestors blocked traffic and hundreds gathered on the streets and sidewalks. Though NYPD
deputies were stationed outside the bar, it was reported that no arrests or summons were issued.7®

70. The NYPD has a history of treating even right-wing extremists more
permissively. This pattern can be observed from the 1990s to the present._

a. Inthe early 1990s the NYPD stood by and took no action when a group of

skinheads attacked a group of peaceful demonstrators. Dwares v. City of New
York, 985 F.2d 94 (2d Cir. 1993).

b. In 1992, the Patrolmen’s Benevolent Association, egged on by mayoral candidate
Rudy Giuliani, held a demonstration at City Hall Park in response to Mayor
Dinkins’s call for a Civilian Complaint Review Board. This led to one of the
biggest riots in New York City history. On-duty police officers who were present
did little to stop it, and even encouraged it, despite the fact that the off-duty
rioting officers blocked the Brooklyn Bridge, stormed City Hall, committed acts

of vandalism, and assaulted bystanders.’,'°

 

6 Jake Offenhartz, Photos: Police Stand By As Caravans Of Trump Supporters Block Bridges, Gothamist, Nov. 2,
2020, Threaten Counter-Protesters, available at https://gothamist.com/news/photos-police-stand-caravan-trump-
supporters-block-bridges-threaten-counter-protesters
7 Wilson Wong, Hundreds protest closing of Staten Island bar that refused Covid-19 measures, NBC NEWS, Dec.
3, 2020, available at https:/;www.nbcnews.com/news/us-news/hundreds-protest-closing-staten-island-bar-refused-
covid-19-measures-n1249873
8 NBC News 4, Staten Island Bar Reopens, Defying City and State COVID Orders Once Again, December 5, 2020,
available at https://www.nbcnewyork.com/news/coronavirus/staten-island-bar-reopens-defying-city-and-state-covid-
orders-once-again/2762850/
° Nat Hentoff and Nick Hentoff, Rudy’s Racist Rants: An NYPD History Lesson, Cato.org, July 14, 2016, available
at https://www.cato.org/commentary/rudys-racist-rants-nypd-history-lesson
10 pamela Oliver, When the NYPD Rioted, University of Wisconsin — Madison, July 18, 2020, available at
https://www.ssc.wisc.edu/soc/racepoliticsjustice/2020/07/18/when-the-nypd-rioted/

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c. More recently, the NYPD has turned a blind eye to violence committed by the
Proud Boys and other neo-Nazi groups. In one such instance in October of 2018, a
mob of uniformed Proud Boys and right-wing skinheads cried homophobic slurs
and kicked and stomped a person laying on the sidewalk. NYPD officers observed
the violence, but did not intervene to stop it. Instead, the NYPD was more
concerned with controlling left-wing activists.'! During this incident three left
wing activists were arrested but not a single Proud Boy was questioned or
arrested. Proud Boy leader Gavin McInnes boasted about the incident that the

group had support from “[t]ons of cops, I have a lot of support in the NYPD...” !”
THE NYPD’S HISTORY OF MISHANDLING CERTAIN PROTESTS
71. | The extensive deprivations of constitutional rights suffered by Plaintiffs here are

part of the NYPD’s long history of aggressive and unconstitutional policing of certain First
Amendment-protected activities going back many years, including, inter alia, protests
denouncing the murder of Amadou Diallo in 1999, as well as protests against the World
Economic Forum (the “WEF” in 2002, the Iraq War in 2003, the Republican National
Convention (“RNC”) in 2004, the Occupy Wall Street (“OWS”) protests in 2011 and 2012, and
many other protests since, including Black Lives Matter and anti-police brutality protests.

72. | The NYPD response to the protests in New York City the summer of 2020 was in
line with its history of violent and unconstitutional responses to past protests challenging police
conduct in New York City, including its treatment of certain First Amendment assemblies with
demoralizing and brutal shows of force, rather than genuine efforts to facilitate protesters’
protected First Amendment activity.

73. For example, the NYPD met protests following the start of the Iraq War in 2003

with mass arrests, excessive force, use of pepper spray, riding horses into crowds and batons

 

1! Jake Offenhartz, NYPD Accused Of Incredibly Deferential Treatment’ Of Proud Boys Following Beatings Caught
On Video, available at, https://gothamist.com/news/nypd-accused-of-incredibly-deferential-treatment-of-proud-
boys-following-beatings-caught-on-video
2 Jake Offenhartz, Proud Boys Leader: 'I Have A Lot Of Support In The NYPD", Gothamist, Oct. 15, 2018,
https://gothamist.com/news/proud-boys-leader-i-have-a-lot-of-support-in-the-nypd

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strikes to disperse protestors, and kettling to move protestors from specific locations to effectuate
mass arrests. !

74. The next year, during the police “Operation Overlord II” operation in response to
the Republican National Convention in 2004, NYPD members treated protestors to similar uses
of kettling tactics, excessive force and mass arrests, and excessive and unreasonable detention. 4

75. | The NYPD continued to employ similar mass arrest and excessive force tactics
during a years-long crackdown on Critical Mass bicycle rides beginning in 2004.°

76. Similarly, during the Occupy Wall Street (“OWS”) protests in 2011, the NYPD
used excessive force against protestors, bystanders, and National Lawyers Guild — New York
City Chapter Legal Observers, as well as kettling tactics to move protestors or initiate mass
arrests. !6

77. Additionally, Defendants have employed the same tactics and practices against
Black Lives Matter, police accountability, and other, similar protests, over the intervening years.

78. Following NYPD conduct during these and other protests, the City of New York
and the NYPD and its members have been sued repeatedly by protestors who alleged that they
had been unlawfully detained, kettled, arrested, subjected to mass arrest, unreasonable and
prolonger detentions and violations of their First Amendment and other, related rights, much in
the same manner as have the Plaintiffs in this case.

79. In many of these cases Defendants employed tactics developed and modified

over the course of many years by Defendants Shea, Monahan, and their predecessors and by

 

13 See, e.g., N.Y. Civil Liberties Union, Arresting Protest (2003), available at
https://www.nyclu.org/sites/default/files/nyclu_arresting_protest.pdf.

14 See, e.g., N.Y. Civil Liberties Union, Rights and Wrongs at the RNC (2005), available at
https://www.nyclu.org/sites/default/files/publications/nyclu_pub_rights_ wrongs rmc.pdf.

15 See, e.g., Callaghan v. City of New York, 07 Civ. 9611 (PKC)(JLC) (S.D.N.Y.).

16 See People of the State of New York v. City of New York et al., 21-cv-0322, Dkt. No. 1 at | 26 (S.D.N.Y.).

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other defendant City policymakers at and in connection with other demonstrations in the City

dating back to around 2000 and continuing through the present, including the policies, practices,

and customs complained of herein, and also described and litigated in the following cases:

a.

Mandal v. City of New York., 02-cv-1234 (WHP)(FM) (S.D.N.Y.) and related
cases challenging NYPD’s written and unwritten policies and practices enacted
after the police shooting of Amadou Diallo in 1999 and formalized in writing as
early as 2001. As a result of these policies, the NYPD began detaining and fully
processing people arrested for non-criminal violations who were otherwise
eligible to be processed and released with Desk Appearance Tickets (“DATs”).
See, e.g., “Mandal I,” No. 02-cv-1234 (WHP), 02-cv-1367 (WHP), 02-cv-6537
(WHP), 2006 WL 2950235, at *4-7 (S.D.N.Y. Oct. 17, 2006) (denying summary
judgment on plaintiffs’ Fourteenth Amendment Equal Protection and First
Amendment-based claims that the policies “constituted facial violations of
[plaintiffs’] First Amendment rights because they were denied DATs or
summonses based on the fact that they participated in demonstrations”); Mandal
v. City of New York (“Mandal IP’), No. 02-cv-1234 (WHP), 02-cv-1367 (WHP),
2007 WL 3376897, at *2 (S.D.N.Y. Nov. 13, 2007) (“Mandal IT’) (noting that
approximately 38 Mandal plaintiffs prevailed at trial on claims that “the City had
an unconstitutional written policy of denying persons arrested at demonstrations
individual consideration for summonses and DATs”);

Burley v. City of New York, 03-cv-2915 (WHP)(FM) 2005 WL 668789 (S.D.N.Y.
March 23, 2005) (class action arising from mass arrests of over 200
demonstrators during 2002 WEF in New York City challenging, inter alia, (1)
NYPD policy of detaining perceived protesters who were otherwise eligible to be
released earlier with DATs for excessive periods of time and denying them
consideration for DAT release on the grounds of their perceived participation in
protests and (2) policy and practice of using plastic flex cuffs as unreasonable and
excessive because of the manner in which the handcuffs were applied and the
length of time for plaintiffs were handcuffed);

Allen v. City of New York, 466 F. Supp. 2d 545, 546 (S.D.N.Y. 2006) (challenging
mass arrests made in February 2002 related to the WEF alleging, inter alia, that
the protestors remained on the sidewalk, walking two abreast and followed all
rules of protesting, yet Executive Officers including Defendant Monahan, arrested
them and “the police deliberately held [protesters] in custody for an unnecessarily
long period of time in order to delay their arraignment in Criminal Court”;

Haus v. City of New York, 03-cv-4915 (RWS)(MHD) 2006 WL 1148680, *1
(S.D.N.Y. April 24, 2006) (class action challenging arrests, detentions, and
prosecutions of around 300 people in connection with February 15, 2003 anti-war
protests, alleging that arrests were made without probable cause and pursuant to

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Department directive to “engage in pre-emptive mass arrests and to subject
arrestees to delayed and arduous post-arrest processing.” See also Larsen v. City
of New York, et al., 04-cv-0665 (RWS) (S.D.N.Y.);

Kunstler v. City of New York, 04-cv-1145 (RWS)(MHD) (S.D.N.Y.) and other
related cases arising from alleged false and retaliatory arrests in connection with
police responses to protests on April 7, 2003, raising Monell and other claims
similar and related to the policies and practices complained of herein such as
encircling protesters, striking them with nightsticks, and using extremely tight
plastic handcuffs in their arrest;

MacNamara v. City of New York, 04-cv-9216 (RJS)JICF) (S.D.N.Y.) (including
the Second Amended Class Action Complaint, Dkt. No. 200-2), Abdell. v. City of
New York, 05-cv-8453 (RJS)(JICF) (S.D.N.Y.), Schiller. v. City of New York, 04-
cv-7922 (RJS) (JCF) (S.D.N.Y.), Dinler v. City of New York, 04-cv-7921
(RJS)(JCS) (S.D.N.Y.), Kyne v. Wolfowitz, 06-cv-2041 (RJS)(JCF) (S.D.N.Y.)
(including the Second Amended Complaint, Dkt. No. 18), and the dozens of other
cases consolidated for discovery purposes in the S.D.N.Y. arising from arrests
made, and policies related to, the RNC in New York City in 2004. See, e.g.,
Schiller, No. 04-cv-7922 (RJS)(JCF), 2008 WL 200021 at *2-5 (S.D.N.Y. Jan.
23, 2008) (noting the City’s consent to amendment of complaints in RNC cases to
add, inter alia, “constitutional challenges to the defendants’ alleged practice of
detaining . . . all persons in connection with the RNC. . . no matter how minor the
infraction, rather than issuing summonses on the street”); MacNamara v. City of
New York, 275 F.R.D. 125, 154 (S.D.N.Y. 2011) (certifying six “mass arrest
subclasses” as well as an “Excessive Detention Class” comprised of all RNC
arrestees who were processed pursuant to the RNC Mass Arrest Processing Plan
and a “Conditions of Confinement Class, comprising all RNC arrestees who were
handcuffed with plastic flex cuffs[.]”); Dinler, No. 04-cv-7921 (RJS)(JCF), 2012
WL 4513352, at *13-15 (S.D.N.Y. Sept. 30, 2012) (granting plaintiffs’ motions
for summary judgment on their false arrest claims related to hundreds of people
mass arrested at 2004 RNC in connection with a War Resisters League march and
denying defendants’ cross-motion on false arrest claims);

Callaghan v. City of New York, 07-cv-9611 (PKC)(JLC) (S.D.N.Y.) (including
the Third Amended Complaint, Dkt. No. 14) (multi-plaintiff litigation challenging
mass arrest policies, practices, and incidents related to post-2004 RNC Critical
Mass crackdown spanning several years, pleading Monell claims virtually
identical to the core Monell claims pleaded herein));

Osterhoudt v. City of New York, et al., No. 10-cv-3173 (RJC)(RML), 2012 WL
4481927, at *1-2, (E.D.N.Y. Sept. 27, 2012) (and the Second Amended
Complaint and Demand for Jury Trial, Dkt. No. 22) (denying defendants’ motion
to dismiss Monell claims where plaintiff, who was arrested on during mass arrest
on election night in November 2008, cited other lawsuits against the City for

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mass arrests at Critical Mass bike rides, the 2004 RNC, and the WEF including “a
number of complaints alleging that the NYPD conducted mass arrests at
demonstrations and in crowd control situations, plausibly alleging a widespread
departmental policy of arresting political demonstrators without determining
probable cause on an individual basis”);

1. Despite (then-Mayor Michael Bloomberg’s recognition that, “the majority of the
[OWS] protesters have been peaceful and responsible,”!’ there were more than
ninety civil rights actions filed in the S.D.N.Y. arising from NYPD OWS arrests
and related polices, including, but not limited to, the cases listed in Marisa
Holmes v. City of New York, et al., 14-cv-5253 (LTS) (S.D.N.Y.) (Dkt. No. 13
89) (listing by caption and docket numbers of many OWS-related cases as of
March 13, 2015). Some of those cases resulted in judgments and many resulted in
substantial settlements prior to trial including Gerskovich v. Iocco, 15-cv-7280
(S.D.N.Y. Berman, J.) that settled for $256,000 prior to trial, and which
complaint had a similar failure to train Monell claim that had been sustained
through Defense Rule 12 and Rule 56 motions;

j. In Peat v. City of New York, No. 12-cv-08230 (S.D.N.Y.), fifteen OWS plaintiffs
arrested on January 1, 2012, on the sidewalk in the East Village settled a case
with Defendant City of New York for $598,000. The settled complaint alleged
that plaintiffs were peacefully and lawfully protesting when executive members
of the NYPD blocked their path on the sidewalk, !® encircled them on three sides
and a building line on the fourth side. The NYPD made dispersal announcements
without providing sufficient time or a path of egress as members of the scooter
task force blocked the protesters path of egress;

k. Other OWS-related cases have continued through discovery and are awaiting
trial, including two cases involving failure to train claims similar to those at issue
in this case, which are currently scheduled for trial: Packard v. City of New York
15-cv-7130 (S.D.N.Y.) (AT) and Case v. City of New York, 14-cv-9148
(S.D.N.Y.) (AT);

1. The Plaintiffs in Case, et al. v. City of New York, et al., 14-cv-9148 (AT)(BCM)
were arrested at an Occupy Wall Street protest and subjected to certain NYPD
large-scale arrest processing rather than being released on the street with a
summons as a result, including Monell claims with much in common with many
of those raised herein. See Case v City of NY, 233 F. Supp. 3d 372 (SDNY 2017);
408 F.Supp.3d 313 (SDNY 2019);

 

17 Michael Bloomberg, Michael Bloomberg's Statement on the Zuccotti Park Clearance, The Guardian (Nov. 15,
2011, 8:39 EST), http:/Awww.guardian.co.uk/world/2011/novw/15/michael-bloomberg-statement-zuccotti-park.

18 Tn March and April 2012, NYCLU issued Free Speech Threat Assessments detailing the NYPD’s restriction on
protester activity and engaging in a manner to obstruct protester’s ability to engage in First Amendment activity and
identified how executive “supervising officers, at random and without warning, pointed to protesters they wanted
arrested for disorderly conduct, unreasonable noise, resisting arrest and obstructing governmental administration.”
https://www.nyclu.org/en/nyc-free-speech-threat-assessment.

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m. The Union Square litigations related to the mass arrests that occurred in and
around Union Square Park on September 24, 2011, alleged similar NYPD
misconduct that is alleged in this pleading, including, failure to provide
reasonable dispersal orders and opportunity to disperse, unnecessary and
excessive force used on protesters and overall efforts of the NYPD to deter and
demoralize protesters. Nearly all of these cases include multiple plaintiffs and
were all settled by the City of New York, including Clarke v NYC, 13-cv-(RWS);
Crisp v. NYC, 12-cv-5482(RWS); Dedrick v. NYC, 12-cv-7165(RWS); Dierken v.
NYC, 12-cv-7462(RWS); Elliot v. NYC, 12-cv-992(RWS); and Hanlin v. NYC,
12-cv-5844(RWS);

n. Those cases OWS related cases referenced herein, Gerskovich, Packard, Case,
Peat, the Union Square Litigations, as well as several other OWS-related cases,
included failure to train Monell claims concerning protest activity that are similar
to the Monell claims in this litigation;

oO. The incidents discussed in the 2003 NYCLU special report created by the
NYCLU in the wake of the February 15, 2003 antiwar demonstration, titled
Arresting Protest, published April 2003, available at
https://www.nyclu.org/sites/default/files/publications/nyclu_pub_arresting protes

t.pdf;

p. The incidents discussed in the 2005 NYCLU special report created by the
NYCLU in the wake of protests at the RNC, titled Rights and Wrongs at the RNC,
published in 2005, available at
https://www.nyclu.org/sites/default/files/publications/nyclu_pub rights wrongs r

ne.pdf;

 

q. The incidents discussed in the research compiled by The Global Justice Clinic at
the New York University School of Law and the Walter Leitner International
Human Rights Clinic at the Leitner Center for International Law and Justice at
Fordham Law School in their publication titled Suppressing Protest: Human
Rights Violations in the U.S. Response to Occupy Wall Street, published July 25,
2015, available at http://hrp.law. harvard.edu/wp-
content/uploads/2013/06/suppressing-protest-2.pdf; and

I. Edrei v. City of New York, 16-cv-01652 (JMF)(BCM) (challenging NYPD uses of
Long Range Acoustic Device (“LRAD”) against perceived “group” for crowd
control purposes, including Monell allegations challenging many of the same
policies and practices herein, see, e.g., First Amended Complaint at Paragraph
415).

THE NYPD’S FAILURE TO TRAIN REGARDING PROTEST POLICING

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80. Since at least the 1990s, the NYPD has failed to appropriately train its officers on
the proper handling of First Amendment assemblies, despite being on notice of serious
constitutional deficiencies in their existing training.

81. In fact, the NYPD’s core training related to protest response to this day is based
on crowd management and disorder control tactics for policing large-scale civil disorder and
riots.

82. In 1997, the NYPD’s Disorder Control Unit (“DCU”) created the “Disorder
Control Guidelines.”

83. | Upon information and belief, to this day, that document forms the core the NYPD
protest response-related training.

84. The Disorder Control Guidelines treat disorders as military engagements and
copies military tactics and focus on tactics designed to deter, disperse, and demoralize groups,
including by staging overwhelming presence and force at protest activity, as well as making
early and “pro-active” arrests, and mass arrests, using disorder control formations, encirclement
or kettling, and other, similar tactics.

85. | Upon information and belief, the core NYPD training, based on the Disorder
Control Guidelines, focuses on the use of such tactics to — using the trainings’ terminology —
“disperse and demoralize” protesters.

86. | These disperse and demoralize tactics and trainings have persisted through the
present as exemplified by the experiences of the Plaintiffs in this case.

87. | Upon information and belief, the Disorder Control Guidelines were never meant
to be guidelines for the policing of lawful First Amendment assemblies such as demonstrations —

only for large-scale civil disorder such as riots.

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88. However, neither the Disorder Control Guidelines, nor, upon information and
belief, any related NYPD training, contain meaningful direction on the core First, Fourth, or
Fourteenth Amendment principles that must guide constitutional policing of First Amendment
assemblies.

89. On information and belief, there was, and is, virtually no NYPD training—and
certainly no meaningful NYPD training—focusing on how to utilize the tactics described in the
Disorder Control Guidelines without infringing on the constitutional rights of protesters, such as
how to make probable cause determinations or the requirements of providing an alternative
avenue of protest, meaningful time and a path of egress when issuing a dispersal order, and the
like.

438. Defendants’ failures to train, which led to violations of Plaintiffs’ rights in this
case, include, inter alia, the following:

a. The failure to provide constitutionally meaningful dispersal orders and
opportunities to disperse or other, similar fair warning prior to using force or
taking other enforcement action, including, for example, the manner in which to
inform demonstrators they must move or disperse, how many warnings to give
before taking enforcement action, the length of time to be given in order to

provide a meaningful opportunity to comply, and the like;

b. The failure to make clear the need for individualized probable cause to arrest in a
protest context;

c. The failure to provide training on the use of reasonable and proportionate force in
connecting with policing First Amendment assemblies;

d. The failure to provide training on the need for, or tactics regarding, escort and
facilitation of First Amendment activities, and instead focuses almost exclusively
on tactics designed to “disperse and demoralize” protesters; and

e. The failure to provide training on the importance and need for NYPD members to
wear masks during the COVID-19 pandemic, to provide masks for arrestees, and
to allow arrestees to engage in mask-wearing, social distancing, handwashing, and
other, similar safety measures in light of the COVID-19 pandemic.

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90. Although many of the above problems with the NYPD’s training are endemic and
cut across all of the relevant NYPD training, at present, Defendant City has a policy and practice
of deploying one particularly problematic, inadequately trained, poorly supervised and
disciplined group of NYPD members: the NYPD’s Strategic Response Group (“SRG”).

91. The SRG, deployed around the City at protests in 2020 including those that are
the subject of this lawsuit, was created in 2015 as a specialized unit tasked with responding to
disorder-causing events and to conduct counter-terrorism operations.

92. The SRG has a unit in each of the five boroughs and the DCU has now been
incorporated into the SRG.

93. | In response to the public’s skepticism that the SRG would be used to crack down
on protests, then-Chief of Department James O’Neill stated: “They will not be involved in
handling protests and demonstrations. They’Il have no role in protests. Their response is single-
fold. They’ll be doing counter-terror work. They’!1 be assigned to different posts throughout the
city.”!

94. However, since 2015, the SRG has been regularly deployed at protests, including
those in 2020 related to the present lawsuit.

95. | Many SRG members, including many of those deployed to the protests in 2020
that are the subject of this lawsuit, have histories of engaging in the kinds of misconduct
complained of herein, documented among other places, by CCRB complaints, and in numerous
lawsuits.”°

96. SRG members are meant to have additional DCU training.

 

19 Ben Yakas, NYPD: Fine, Maybe We Won’t Police Protests With Machine Guns, Gothamist, Jan. 30, 2015,
available at https://gothamist.com/news/nypd-fine-maybe-we-wont-police-protests-with-machine-guns.
20 Ali Winston, NYPD Unit At Center Of Protest Policing Has Dozens Of Officers With Long Misconduct Histories,
The Appeal, Oct. 15, 2020, available at https://theappeal.org/nypd-srg-misconduct/.

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97. Upon information and belief, that additional DCU training is principally modelled
on the core principles and tactics in the Disorder Control Guidelines.

98. | However, many of the officers deployed to respond to the protests in 2020 did not
even receive that training, which was supposedly required of them.

99. As aresult, as noted in the OCC Report, “for a majority of the officers who were
assigned to the George Floyd protests, their training on policing protests was limited to what they
had received as recruits in the Academy.””!

100. Between at least 2004 and the present, the NYPD’s mass arrest and violent crowd
control and protest policing tactics have been on full display in the streets of New York City; the
subjects of unfavorable coverage in the media, including coverage explicitly showing video
evidence of NYPD members engaging in uses of excessive force in connection with crowd
control while policing protests; documented in complaints to the Civilian Complaint Review
Board and other agencies; as well as the litigations discussed above, which have cost the city
tens of millions of dollars in judgments and settlements.

101. Indeed, in connection with the 2002 World Economic Forum and the 2004 RNC
policing operations, NYPD supervisors —including DCU supervisors charged with designing and
implementing NYPD protest policing-related policies and related training — routinely created
“after action reports” that documented and critiqued NYPD plans for and responses to protest
activities.

102. For example, in a March 17, 2006 New York Times article that was published
while discovery about related policies and practices was ongoing in the 2004 RNC litigations,

“Police Memos Say Arrest Tactics Calmed Protest,” Jim Dwyer reported on the revelation of

 

71 OCC Report at 37.
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2002 WEF after-action reports in then-ongoing litigation, Allen v. City of New York, 03-cv-2829
(KMW) (GWG) (SDNY).

103. Those reports praised employing militarized tactics such as the “staging of
massive amounts” of officers in riot gear including riot helmets and militarized “equipment”
such as armored vehicles, prisoner wagons, and buses in view of demonstrations in order to
“cause them to be alarmed” and as a “deterrent” as well as the use of “proactive” arrests in order
to have a “powerful psychological effect” on protesters.

104. After the 2002 WEF after-action reports were disclosed in Allen and the 2004
RNC-related after-action reports were disclosed in the RNC litigations, and some of them were
made public as a result, upon information and belief, rather than continuing to create such reports
frankly documenting and assessing the NYPD’s protest policing-related policies and tactics, the
NYPD opted to stop creating such records.

105. For example, according to the Corporation Counsel’s report, NYPD records do
not show any protest-related after action reviews undertaken between the 2004 Republican
National Convention until the events of the George Floyd protests.

106. Nevertheless, upon information and belief, at all times relevant herein,
Defendants de Blasio, Shea, Monahan, and other defendant City policymakers, routinely
received reports regarding arrests made in connection with First Amendment assemblies,
including through internal reports such as Unusual Occurrence Reports; Mass Arrest Reports
including data tracking arrestees, the length of time it took them to go through the system,

whether they were released with a summons or DAT, their proposed arrest charges, and other

 

22 Tim Dwyer, “Police Memos Say Arrest Tactics Calmed Protest,” N.Y. Times, March 17, 2006, available at
https://www.nytimes.com/2006/03/17/nyregion/police-memos-say-arrest-tactics-calmed-protest.html.

 
information related to the status and/or dispositions of the cases; internal critiques from
supervisors and other officers involved in mass arrests related to police actions taken in relation
to an event; and/or other reports including information arrests, use of force protest arrest
processing, and/or related prosecutions.

107. Despite the wealth of evidence of NYPD members’ historical brutality against
protesters, Defendant City has ignored, and/or failed to utilize, relevant information, including
information gleaned from reports and lawsuits, as well as other data points, to identify
deficiencies in NYPD training as it relates to constitutionally compliant protest policing.

108. For example, in a deposition in Packard v. City of New York, 15-cv-7130
(S.D.N.Y.) (AT), a witness for the City of New York testified that in regard to protest police
training it did not review (1) decline to prosecute decisions, (11) conviction conversion rates or
(iii) allegations and settlements in lawsuits relating to protest.

109. As another example, Defendant City apparently does not take allegations in
lawsuits filed by protesters claiming they were falsely arrested during protests into account in
considering its protest policing-related policies and training, in effect taking the position that
there is nothing to be learned from lawsuits and settlements.

110. For example, in a 2017 deposition, a Fed. R. Civ. P. 30(b)(6) witness designated
to testify on sidewalk policy protesting, dispersal orders, and training on probable cause
standards for crimes commonly charged in protest policing by the Defendant City could identify
no impact that litigation against Defendant City between 2000 and 2011 had on Defendant City’s

relevant policies, practices, customs, or NYPD training.

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111. Relatedly, according to the Corporation Counsel, “the NYPD does not
demonstrate a consistent commitment to reviewing and responding to external critiques
regarding the policing of protests.”

112. At bottom, the NYPD’s near-exclusive focus on deterring, dispersing, and
demoralizing in trainings related to policing protests, coupled with the failure to train on specific,
relevant aspects of constitutional policing of protests, let alone how to encourage or facilitate
protests—despite having received clear notice that NYPD policing of protests has caused the
systemic violations of protesters’ constitutional rights for years—demonstrates both a history and
a policy, of disregard for the First Amendment, Fourth Amendment, Fourteenth Amendment, and

other, related rights of Plaintiffs and other similarly injured protesters.

THE NYPD’S POLICY AND/OR PRACTICE
OF USING EXCESSIVE FORCE TO CONTROL THE SPEECH OF PROTESTORS

113. Defendants used types and levels of force that were excessive and unnecessary
force against the Plaintiffs.

114. In many cases, those uses of force were in contravention of, or inconsistent with,
related, written NYPD policies and/or training.

115. In many cases, Defendants failed to document, and/or require that fellow
Defendants and/or other fellow officers document, uses of force in accordance with related
NYPD policies and/or training.

116. In many cases, Defendants used force against Plaintiffs based on their position in

or proximity to a perceived group, without first having given the perceived group clearly

 

23 OCC Report at 2, 30.
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communicated prior notice as well as a meaningful opportunity to comply with police orders
and/or dissociate with the perceived group.

117. In many cases, Defendants used types of force that they knew, or should have
known, would impact numerous people at one time, and/or cause lasting pain, suffering, and/or
injury, without making individualized or otherwise appropriate determinations about whether
those uses of force were necessary, justified, or reasonable under the circumstances.

DEFENDANTS’ POLICIES AND PRACTICES
REGARDING ARRESTS—INCLUDING MASS ARRESTS—WITHOUT FAIR
WARNING

118. Insome cases, Defendants seized Plaintiffs based on the perception that they were
part of a perceived group, without having made an individualized determination that there was
probable cause to arrest the Plaintiff in question based on their own, individual conduct, as
opposed to the perceived “group conduct.”

119. Insome cases, Defendants failed to give constitutionally meaningful and adequate
dispersal orders and meaningful opportunities to disperse prior to making arrests where such
notice and opportunity were required.

120. That enforcement was consistent with official NYPD policy, practice, and/or
custom.

121. Additionally, in some cases, Defendants enforced other provisions of New York
law against Plaintiffs and other perceived protesters without probable cause and/or without first
having given constitutionally meaningful and adequate dispersal orders and meaningful
opportunities to disperse prior to making such arrests.

122. Insome cases, Defendants employed a crowd control tactic in which Defendants

pushed and/or corralled and/or otherwise physically trapped perceived groups including

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Plaintiffs and other perceived protesters, including by kettling, without first having given
Plaintiffs and the others so pushed and/or corralled and/or trapped meaningful notice and an
opportunity to disperse or otherwise change their conduct in order to avoid being so pushed
and/or corralled and/or trapped.

DEFENDANTS’ PROTEST ARREST PROCESSING POLICIES AND PRACTICES

123. Because Defendants arrested Plaintiffs and other arrestees in connection with a
protest, Defendants subjected them to Defendants’ Protest Arrest Processing Policies, which
involved, among other components, placing Plaintiffs and other arrestees in flex-cuffs and
removing them from the street to a centralized arrest processing location such as a Mass Arrest
Processing Center (““MAPC”), where Defendants subject them to large-scale arrest processing
procedures and Mass Arrest Processing Plan (“MAPP”) rather than issuing them summonses,
and releasing them from custody, on the street.

124. Additionally, as a result, instead of detaining Plaintiffs and other arrestees for a
relatively brief period of time on the street, issuing them summonses, and releasing them,
Defendants subjected Plaintiffs to flex-cuffing as well as unreasonably lengthy, onerous arrest
processing, significantly increasing the amount of time they would otherwise have been in
custody and exposing them to inappropriate and especially hazardous conditions of confinement,
as well as searches of their persons and property, and/or seizures and/or retentions of their
property without adequate pre- or post-deprivation notice and/or opportunity to be heard to
challenge the grounds for seizing and/or retaining the property.

125. Insome cases, NYPD members destroyed and/or damaged property belonging to

Plaintiffs and other arrestees.

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126. In other cases, NYPD members seized and retained property from Plaintiffs and
other arrestees without providing them with the NYPD paperwork required by NYPD policies,
practices, and procedures to retrieve property seized by NYPD members.

127. Instill other cases, NYPD members seized and retained property without
providing Plaintiffs with a meaningful opportunity to retrieve it, for example because the
location at which Defendants were retaining the property was closed.

128. Beyond that, in some cases, Defendants arrested Plaintiffs for alleged offenses
which New York Criminal Procedure Law § 150.20 required them to grant Plaintiffs summonses
on the street in lieu of a fuller or lengthier detention; and/or in connection with which, under the
NYPD policies and practices that are applied in non-protest contexts, arrestees are taken directly
to a nearby local precinct, and released in an average of between around two and four hours with
a C-Summons.

129. The conditions of Plaintiffs’ confinement were unsafe and overcrowded,
particularly in the context of the COVID-19 pandemic, and/or filthy and/or unsanitary; and
lacked appropriate access to phone calls, food, water, bathrooms soap and/or hand sanitizer,
other hygienic products such as tampons, and/or other basic necessities.

130. With particular respect to the COVID-19 pandemic, during Plaintiffs’
confinements, the State of New York, and Defendant City, had advised people to comply with
social distancing, to wear masks, and to engage in practices such as hand-washing; and
Defendant City, as well as Defendants Shea, Monahan, and other NYPD members, enforced
Executive Orders issued by Mayor de Blasio requiring people to engage in social distancing

and/or mask-wearing, all on an emergency basis.

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131. However, as part of Defendants’ Protest Arrest Processing Policies and MAPP,
instead of detaining Plaintiffs and other arrestees for a relatively brief period of time on the
street, issuing them summonses, and releasing them, Defendants transported Plaintiffs to a
MAPC or other centralized arrest processing location, in close, forced proximity to other
arrestees and NYPD members, many of whom were not wearing masks, rendering social
distancing impossible.

132. Relatedly, many Defendants and other nearby NYPD members were not wearing
masks while arresting and/or using force on and/or detaining Plaintiffs.

133. Also relatedly, Defendants and other NYPD members removed masks many
Plaintiffs and other arrestees who had masks at one point prior to or during their arrests or
detentions.

134. Also as part of Defendants’ Protest Arrest Processing Policies and MAPP,
Defendants subjected Plaintiffs and other arrestees to conditions of confinement in which they
were unable to wash their hands or otherwise engage in other, similar hygienic practices that the
State and City were recommending for public health and safety.

135. Defendants knew or should have known that, as a result of subjecting Plaintiffs to
Defendants’ Protest Arrest Processing Policies and MAPP, they would deprive Plaintiffs and
other arrestees of basic needs, including for example the need to stay safe from COVID-19, as
well as unreasonable risks of serious damage to their physical and/or mental health or safety
through potential exposure to COVID-19.

136. During Plaintiffs’ time in NYPD custody, Defendants deprived Plaintiffs of

meaningful access to food, bathroom, soap and other hygiene products, and other basic

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necessities for an extended period of time, and subjected Plaintiffs to filthy, crowded, and
unsanitary conditions of confinement.

137. Defendants acted intentionally to impose those conditions because they subjected
Plaintiffs to Defendants’ Protest Arrest Processing Policies and MAPP.

138. Additionally, Defendants recklessly failed to act with reasonable care to mitigate
the risks that the conditions posed even though they knew or should have known that they posed
excessive risks to Plaintiffs’ physical and/or mental health or safety through potential exposure
to COVID-19.

139. Moreover, the risks were obvious and apparent, including based on the State and
City policies and practices related to COVID-19 safety, and common sense.

DEFENDANTS’ HISTORICAL FAILURES TO MONITOR AND SUPERVISE NYPD
MEMBERS’ PROTEST POLICING

140. Although Defendants City, de Blasio, Shea, Monahan, and other policymakers
actually knew, or should have known, that NYPD members were engaging in or had engaged in
the unconstitutional conduct complained of herein, they failed to monitor, supervise, and/or
discipline NYPD members who directed, engaged in, or observed such conduct.

141. For example, despite statements made by Defendants de Blasio and Shea in the
media indicating they had knowledge of events related to violence and mass arrests at the
protests as they were unfolding, and the wealth of video and other evidence that has been widely
available in the intervening months, upon information and belief, virtually no NYPD members
have been meaningfully investigated or disciplined related to their conduct.

STATE AND CITY OFFICIAL REPORTS ON THE SUMMER 2020 PROTESTS

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142. In July 2020, the New York State Office of the Attorney General (the “AG”)
issued a preliminary report on the NYPD’s response to the May and June protests (“AG
Report”).74

143. The AG Report found that most complaints received by the AG were allegations
of excessive force, kettling, false arrests, and excessive force against protestors as well as similar
misconduct directed at the press, National Lawyers Guild — New York City Chapter Legal
Observers, elected officials, and essential workers.

144. The AG Report also found the pervasive failure of NYPD officers to wear
protective face coverings to protect themselves and others against the spread of COVID-19.

145. In December of 2020, the NYC Department of Investigation issued a report
examining the NYPD’s conduct in response to the 2020 Black Lives Matter protests (“DOI
Report”).”°

146. The DOI Report found, inter alia, that the NYPD lacked a sufficiently tailored
strategy to respond to protests, used force and tactics of crowd control that led to excessive force
and “heightened tensions,” made decisions based on intelligence that lacked “context or

proportionality,” and deployed officers who lacked sufficient training in responding to protests.”°

 

4 New York State Office of the Attorney General, Preliminary Report on the New York City Police Department’s
Response to the Demonstrations Following the Death of George Floyd, (“AG Report”), July 2020, available at
https://ag.ny.gov/sites/default/files/2020-nypd-report.pdf. The Plaintiffs herein incorporate by reference into this
case the facts set forth in the AG Report.

25 Margaret Garnett, Commissioner, New York City Department of Investigation, Investigation into NYPD Response
to the George Floyd Protests, (“DOI Report”), Dec. 2020, available at

https://www1 nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18

.2020.pdf.
26 Id. at 36.

31
147. In addition to noting the heavy-handed response by the SRG at the 2020 protests,
the DOI Report found that officers not from SRG lacked “any recent training related to
protests.”27

148. The DOI found that NYPD policies do not have specific First Amendment protest
expression policing policies and failed to distinguish policies for serious civil disorders and riots
from those applicable to peaceful First Amendment expression.

149. The DOI distinguished between protest facilitation and protest control, regulation,
or suppression.

150. The former is preferred to allow for First Amendment expression, the DOI Report
found, but the NYPD employed protest control during the 2020 protests.

151. According to the DOI Report, between May 28 and June 5, 2020, approximately
2,047 individuals were arrested during demonstrations.”®

152. The DOI also found that Black arrestees were disproportionately charged with
felonies.”°

153. The DOI also found that “the force required to carry out a mass arrest was
disproportionate to the identified threat,” and “placed the burden of potential crime on a wide
swath of people who had no apparent connection to that potential criminal activity.”*°

154. According to the DOI Report, between May 28 and June 20, 2020, the CCRB had

received 1,646 protest-related allegations related to 248 incidents.*!

 

27 Td. at 61.
28 Td. at 26.
29 Id. at 27.
3° DOI Report at 56.
31 7d. at 28.

32
155. Defendant City and NYPD leadership and policymakers knew the department and
its officers had problems with constitutionally policing protests but failed to adequately train and
otherwise prepare its officers to respond to the 2020 protests, prevent its officers from
committing the same acts of misconduct, or discipline officers who engaged in such misconduct.

FIRST CLAIM FOR RELIEF
Unlawful Seizure / False Arrest

Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Under the
Fourth and Fourteenth Amendments to the United States Constitution

156. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

157. Defendants’ seizure of the Plaintiffs herein was done without any judicial warrant
authorizing then to seize any Plaintiff was unreasonable and was done without privilege or lawful
justification.

158. Plaintiffs did not consent and were conscious of their confinements by Defendants.

159. Defendants did not have individualized probable cause to seize, detain, or arrest

Plaintiffs.

160. As a result of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

161. The unlawful conduct of the Defendants was willful, malicious, oppressive, and/or
reckless, and was of such a nature that punitive damages should be imposed against them.

SECOND CLAIM FOR RELIEF

Excessive Force
33
Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Under the
Fourth and Fourteenth Amendments to the United States Constitution

162. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

163. Defendants’ use of force against Plaintiffs was unjustified and objectively
unreasonable, taking into consideration the facts and circumstances that confronted Defendants.

164. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

165. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.

THIRD CLAIM FOR RELIEF
First Amendment
Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Under the First
and Fourteenth Amendments to the United States Constitution

166. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

167. Defendants (a) imposed restrictions on such protected speech and/or conduct that
violated Plaintiffs’ First Amendment rights, including, but not limited to, in falsely arresting
Plaintiffs, in subjecting Plaintiffs to excessive force, in selectively enforcing laws and regulations
against Plaintiffs, in subjecting Plaintiffs to Defendants’ Protest Arrest Processing Policies, and
in otherwise violating Plaintiffs’ rights and engaging in the acts and omissions complained of

herein.

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168.

In addition to being retaliatory, the restrictions Plaintiffs complain of herein,

which Defendants imposed on Plaintiffs’ First Amendment rights to participate in, observe,

and/or stand nearby speech, conduct, association, and/or other expressive activities protected by

the First Amendment on the streets, were themselves regulations on Plaintiffs’ protected conduct

that:

169.

Were viewpoint discriminatory and/or otherwise not content-neutral, and were not
necessary, and precisely tailored, to serve compelling governmental interests,
and/or were not the least restrictive means readily available to serve those
interests; or, alternately,

Were content-neutral, but lacked narrow tailoring to serve a significant
governmental interest, in that they burdened substantially more protected speech
and/or conduct than necessary to serve those interests, and/or failed to provide
ample alternatives for Plaintiffs’ protected expression, including in that Plaintiffs’
abilities to communicate effectively were threatened; and/or

Afforded Defendants unbridled or otherwise inappropriately limited discretion to
limit or deny Plaintiffs’ abilities to engage in protected conduct (also raising
constitutionally significant Due Process-based vagueness and/or overbreadth
concerns); and/or

Amounted to the imposition of strict liability on Plaintiffs for engaging in
protected speech and/or expression.

As a result of Defendants’ acts and omissions, Defendants deprived Plaintiffs of

their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,

psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and

expenses; and/or otherwise damaged and injured Plaintiffs.

170.

The unlawful conduct of the Defendants was willful, malicious, oppressive,

and/or reckless, and was of such a nature that punitive damages should be imposed against them.

FOURTH CLAIM FOR RELIEF

First Amendment Retaliation

35
Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Under the First
and Fourteenth Amendments to the United States Constitution

171. Defendants retaliated against Plaintiffs for engaging in speech and/or conduct
protected by the First Amendment.

172. Defendants engaged in the acts and omissions complained of herein in retaliation
for Plaintiffs’ protected speech and/or conduct.

173. Defendants engaged in the acts and omissions complained of herein in order to
prevent Plaintiffs from continuing to engage in such protected speech and/or conduct.

174. Defendants engaged in the acts and omissions complained of herein in order to
prevent and/or discourage Plaintiffs from engaging in similar protected conduct in the future.

175. Additionally, as discussed elsewhere herein, Defendant City designed and/or
implemented policies and practices pursuant to which those Defendants who implemented them
subjected Plaintiffs to violations of their First Amendment rights.

176. Upon information and belief, Defendants engaged in the acts and omissions
complained of herein with respect to Plaintiffs’ First Amendment-based clatms—including the
related municipal liability claims involving the adoption of policies, practices, and/or customs
and/or related failures to train, supervise, and/or discipline—with malice.

177. Upon information and belief, Defendants engaged in the acts and omissions
complained of herein with respect to Plaintiffs’ First Amendment retaliation claims—including
the related municipal liability claims involving the adoption of policies, practices, and/or
customs and/or related failures to train, supervise, and/or discipline—in response to the
perceived viewpoint and/or message expressed by Plaintiffs.

178. Upon information and belief, Defendants did not subject other protesters

expressing “Blue Lives Matter” or other, similar, pro-police messages who were similarly
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situated to Plaintiffs in terms of their conduct and/or its potential public ramifications to the
conduct, policies, practices, and/or customs complained of herein.

179. Additionally, some of the offenses charged against Plaintiffs, which Defendants
might argue provided probable cause for Plaintiffs’ arrests, were offenses that Defendants
typically exercise their discretion not to enforce, or not to make arrests in connection with.

180. Each Plaintiff suffered actual chill, including in that each Plaintiff was prevented
and/or deterred from or impeded in participating in protected conduct on the date of and after the
incident; and/or suffered adverse effects on their protected speech and/or conduct; and/or
otherwise suffered some concrete harm(s).

181. Additionally, in many cases, Defendants apparently permitted, acquiesced in,
and/or facilitated the speech and/or other expressive conduct in which Plaintiffs were engaging,
before suddenly using force and/or making arrests, without first having given reasonable notice
that such force and/or arrest activity would result if Plaintiffs did not conduct themselves
differently and/or disperse, as well as a meaningful opportunity to comply.

182. Additionally, as discussed elsewhere herein, Defendant City designed and/or
implemented policies and practices pursuant to which those Defendants who ordered, effected,
and otherwise participated in arresting and detaining Plaintiffs subjected Plaintiffs to the
violations of their First Amendment rights described elsewhere herein.

183. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and

expenses; and/or otherwise damaged and injured Plaintiffs.

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184. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.
FIFTH CLAIM FOR RELIEF
Due Process

Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Protected Under
the Fifth and Fourteenth Amendments to the United States Constitution

185. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

186. As described above, Defendants enforced offenses in a manner that rendered them
constitutionally void for vagueness and/or overbroad, such that their enforcement against
Plaintiffs violated their Due Process rights, in that Defendants’ enforcement in connection with
those offenses failed to provide and/or reflected the absence of adequately clear standards to
guide police officials’ extremely broad discretion to arrest anyone at their whim, based on ad hoc
determinations, often without fair warning.

187. Additionally, as discussed elsewhere herein, Defendants City, de Blasio, Shea,
and/or Monahan designed and/or implemented policies and practices pursuant to which those
Defendants who ordered, effected, and otherwise participated in seizing and/or retaining
Plaintiffs’ property and/or detaining Plaintiffs in the conditions as described subjected Plaintiffs
to the violations of their Due Process rights described elsewhere herein.

188. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and

expenses; and/or otherwise damaged and injured Plaintiffs.

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189. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.
SIXTH CLAIM FOR RELIEF

Equal Protection and Selective Enforcement

Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Protected
Under the Fourteenth Amendment to the United States Constitution

190. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

191. As described above, in many cases, Defendants arrested Plaintiffs for alleged
offenses in connection with which C.P.L. § 150.20 required that Plaintiffs receive summonses on
the street in lieu of a fuller or lengthier detention; and/or in connection with which, under the
NYPD policies and practices that are applied in non-protest contexts, arrestees are taken directly
to a nearby local precinct, and released in an average of between around two and four hours with
a summons.

192. However, because Defendants arrested Plaintiffs and other arrestees in connection
with a protest, Defendants subjected them to Defendants’ Protest Arrest Processing Policies,
rather than issuing them summonses, and releasing them from custody, on the street, while
Defendants did not apply those same Protest Arrest Processing Policies to other similarly
situated arrestees.

193. Additionally, as discussed elsewhere herein, Defendants City, de Blasio, Shea,
and/or Monahan designed and/or implemented policies and practices pursuant to which those
Defendants who ordered, effected, and otherwise participated in arresting and/or detaining and/or
prosecuting Plaintiffs subjected Plaintiffs to the above-described violations of Plaintiffs’ Equal

Protection rights.
39
194. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

195. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.
SEVENTH CLAIM FOR RELIEF
Deprivation of Fair Trial Rights

Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Protected Under
the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution

196. Plaintiffs incorporate by reference the allegations set forth in all preceding
and subsequent paragraphs as if fully set forth herein.

197. Defendants fabricated evidence of a material nature, likely to influence a jury’s
decision, intentionally forwarded that evidence to prosecutors, as a result of which each Plaintiff
suffered liberty deprivations and other injuries.

198. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

199. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.

EIGHTH CLAIM FOR RELIEF

Malicious Prosecution

40
Pursuant to 42 U.S.C. § 1983 for Defendants’ Violations of Plaintiffs’ Rights Protected Under
the Fourth and Fourteenth Amendments to the United States Constitution

200. Plaintiffs incorporate by reference the allegations set forth in all preceding
and subsequent paragraphs as if fully set forth herein.

201. Upon information and belief, Defendants misrepresented and falsified evidence to
the prosecutor and/or failed to make a full statement of the relevant evidence — including
potentially exculpatory evidence - to the prosecutor.

202. Defendants were directly and actively involved in the initiation or prosecution of
criminal proceedings against Plaintiffs, including by supplying and creating false information to
be included in NYPD paperwork that was included in NYPD paperwork, providing falsely sworn
information in accusatory instruments, and/or providing false information to the prosecutor.

203. Defendants lacked probable cause to initiate and continue criminal proceedings
against Plaintiffs.

204. Defendants acted with malice in initiating criminal proceedings against Plaintiffs.

205. Notwithstanding Defendants’ misconduct, the criminal proceedings against
Plaintiffs were favorably terminated on the merits.

206. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

207. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.

NINTH CLAIM FOR RELIEF

“Deliberate Indifference” to a Serious Medical Condition

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208. Plaintiffs incorporate by reference the allegations set forth in all preceding and
subsequent paragraphs as if fully set forth herein.

209. Several Plaintiffs suffered injuries and as a result suffered serious medical
conditions while in NYPD custody, which required medical attention.

210. Defendants knew, or should have known, that failing to provide those Plaintiffs
with medical attention would cause additional harms, injuries, suffering, and other wrongs.

211. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and
expenses; and/or otherwise damaged and injured Plaintiffs.

212. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.
TENTH CLAIM FOR RELIEF
Municipal Liability
Pursuant to 42 U.S.C. 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978)
for Defendants’ Violations of Plaintiffs’ Rights Under the First, Fourth, and Fourteenth
Amendments to the United States Constitution

213. Plaintiffs hereby incorporate by reference the allegations set forth in all preceding
and following paragraphs as if fully set forth herein.

214. The facts pleaded above describe the policies, practices, and customs Defendants
subjected the Plaintiffs to, including, but not limited to: uses of excessive force, and false arrests,
and unreasonable restrictions on protesters’ First Amendment-protected conduct, often without

fair warning; employing crowd control tactics such as pushing, corralling, encircling, or

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otherwise trapping protesters, without fair warning; engaging in retaliatory and selective
enforcement of the criminal laws against perceived participants in First Amendment assemblies,
particularly Black Lives Matter and/or anti-police brutality protests, in the absence of adequately
clear standards to guide police officials’ extremely broad discretion to arrest anyone at their
whim, based on ad hoc determinations as to their perceived violations, without fair warning;
using flex-cuffs for protest-related arrests, while failing to supply officers with protective
padding and adequate numbers of cutting tools to loosen or remove flex-cuffs, and/or to ensure
that such cutting tools are readily available when needed; failing to loosen or remove over-tight
cuffs; and subjecting arrestees to lengthy detentions and lengthy detentions and arrest processing
at centralized arrest processing locations, exposing them to searches, property seizures, and
unhealthy and conditions of confinement, in lieu of brief street detentions.

215. All ofthe wrongful acts or omissions complained of herein were carried out by
the individual named and unnamed police officer defendants pursuant to: (a) formal policies,
rules, and procedures of Defendant City; (b) actions and decisions by Defendant City’s
policymaking agents including, but not limited to, Defendant de Blasio, Defendant Shea, and
Defendant Monahan; (c) customs, practices, and usage of the NYPD that are so widespread and
pervasive as to constitute de facto policies accepted, encouraged, condoned, ratified, sanctioned,
and/or enforced by Defendant City, Defendant de Blasio, Defendant Shea, Defendant Monahan,
and other policymaking officials; (d) Defendant City’s deliberate indifference to Plaintiffs’ rights
secured by the First, Fourth, and Fourteenth Amendments of the United States Constitution, as
evidenced by the City’s failures, and the failures of the City’s policymaking agents, to train,
supervise, and discipline NYPD officers, despite full knowledge of the officers’ wrongful acts, as

described herein.

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ELEVENTH CLAIM FOR RELIEF
Violations of New York State Law

Pursuant to the New York State Constitution and New York State Common Law

216. Plaintiffs incorporate by reference the allegations set forth in all preceding and
following paragraphs as if fully set forth herein.

217. The conduct of the police officials alleged herein occurred while they were on duty
and/or in and during the course and scope of their duties and functions as police officials, and/or
while they were acting as agents and employees of Defendant City, clothed with and/or invoking
state power and/or authority, and, as a result, Defendant City is liable to the Plaintiffs pursuant to
the state common law doctrine of respondeat superior.

Violations of the New York State Constitution

218. Defendants, acting under color of law, violated Plaintiffs’ rights pursuant to
Article I, §§ 6, 8, 9, 11, and 12 of the New York State Constitution.

219. A damages remedy here is necessary to effectuate the purposes of Article I, §§ 6,
8, 9, 11, and 12 of the New York State Constitution, and appropriate to ensure full realizations of

Plaintiffs’ rights under those sections.

Assault and Battery

220. Defendants committed assault within the meaning of New York common law
against Plaintiffs by intentionally placing Plaintiffs in fear of imminent harmful or offensive
contact.

221. Defendants committed battery within the meaning of New York common law
against Plaintiffs by intentionally physically contacting Plaintiffs without Plaintiffs’ consent.

222. Defendants did thereby inflict assault and battery upon the Plaintiffs.
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Conversion

223. Defendants committed conversion by intentionally taking possession of and/or
interfering with Plaintiffs’ personal property in derogation of Plaintiffs’ rights.

False Imprisonment and Unreasonable Detention

224. By the actions described above, the police officials described above did falsely
arrest and/or imprison Plaintiffs within the meaning of New York common law without
reasonable or probable cause, illegally and without a written warrant, and without any right or
authority to do so. Plaintiffs were conscious of the confinement and it was without their consent.

Negligent Training and Supervision

225. Upon information and belief, Defendant City supervised, and trained the police
officials described above.

Excessive Detention

226. Defendants deliberately detained Plaintiffs for excessive and unreasonably prolonged

periods of time.

Malicious prosecution

227. Defendants commenced criminal proceedings against Plaintiffs maliciously and
without probable cause.

228. All charges were terminated in Plaintiffs’ favor.

229. Asaresult of Defendants’ acts and omissions, Defendants deprived Plaintiffs of
their federal, state, and/or other legal rights; caused Plaintiffs bodily injury, pain, suffering,
psychological and/or emotional injury, and/or humiliation; caused Plaintiffs to expend costs and

expenses; and/or otherwise damaged and injured Plaintiffs.

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230. The unlawful conduct of the Defendants was willful, malicious, oppressive,
and/or reckless, and was of such a nature that punitive damages should be imposed against them.

DEMAND FOR A JURY TRIAL

Pursuant to Fed. R. Civ. P. 38, Plaintiffs hereby demand a jury trial of all issues capable

of being determined by a jury.

WHEREFORE, Plaintiffs demand judgment against the individual Defendants and the

City of New York as follows:

1. Actual and punitive damages against the individual Defendants in an amount to be
determined at trial;

ii. Actual damages in an amount to be determined at trial against the City of New York;

iii. Statutory attorney’s fees, disbursements, and costs of the action pursuant to, inter alia,
42 U.S.C. §1988 and New York common law; and

iv. Such other relief as the Court deems just and proper.

Dated: New York, New York
August 26, 2021

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